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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

Civil Action No. 1:24-cv-00748-STV

KERSTIN ANDERSON

       Plaintiff,

v.

THE TOWN OF DILLON

       Defendant.


                    FINAL JUDGMENT PURSUANT TO FED. R. CIV. P. 68


               In accordance with the orders filed during the pendency of this case, and

pursuant to Fed. R. Civ. P. 58(a), the following Final Judgment is hereby entered.

       Pursuant to the Offer of Judgment served by the defendant on June 7, 2024 and

filed with this court on June 24, 2024 and the Notice of Acceptance of the Offer of

Judgment, filed June 24, 2024 with proof of service, and in accordance with Federal

Rule of Civil Procedure 68, it is

       ORDERED that final judgment is hereby entered in favor of the plaintiff, Kerstin

Anderson, and against the defendant, The Town of Dillon, in the amount of $50,000.00,

exclusive of attorney’s fees and costs. It is

       FURTHER ORDERED that post-judgment interest shall accrue at the rate of

5.10 % from the date of entry of judgment. It is

       FURTHER ORDERED that costs shall be taxed by the clerk of the court in the

time and manner prescribed by Fed. R. Civ. P. 54(d)(1) and D.C.COLO.LCivR 54.1.
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      Dated at Denver, Colorado this 25th day of June, 2024.



                                       FOR THE COURT:
                                       JEFFREY P. COLWELL, CLERK

                                       By: s/ M. Ortiz
                                       Monique Ortiz
                                       Deputy Clerk




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